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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                       Plaintiff,
                                                19 Civ. 3377 (LAP)
-against-
                                                        ORDER
ALAN DERSHOWITZ,

                       Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

     The Court has reviewed the parties’ letter dated November

5, 2020 addressing the status of discovery.           (See dkt. no. 190.)

The proposed briefing schedule addressing whether the documents

produced by Plaintiff in Giuffre v. Maxwell under the protective

order in that case should remain protected in this case is

approved.     The parties shall file initial letters no later than

5:00 p.m. EST on Thursday, November 12, and responsive letters

no later than 5:00 p.m. on Thursday, November 19.

         Counsel for the parties shall appear for a telephonic

conference on November 24, 2020 at 2:30 p.m. EST.            The dial in

for that conference is (888) 363-4734, access code: 4645450.

SO ORDERED.

Dated:       New York, New York
             November 6, 2020


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                               LORETTA A. PRESKA
                               Senior United States District Judge

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